           Case 1:20-vv-00675-UNJ Document 60 Filed 07/28/23 Page 1 of 4




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0675V
                                      (not to be published)


    CRISTHIAN BERRIOS,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: June 27, 2023


    SECRETARY OF HEALTH AND                                  Special Processing Unit                (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Glen Howard Sturtevant, Jr., Rawls Law Group (Richmond), Richmond, VA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

       On June 3, 2020, Cristhian Berrios filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that as a result of receiving the Tdap and MMR
vaccines, he suffered a shoulder injury related to vaccine administration within the Table
timeframe. Petition, ECF No. 1. On May 2, 2023, I issued a decision awarding
compensation to Petitioner based on the parties’ stipulation. ECF No. 50.



1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
         Case 1:20-vv-00675-UNJ Document 60 Filed 07/28/23 Page 2 of 4




       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $27,440.94 (representing $24,329.08 for attorney’s fees and $3,111.86 for attorney’s
costs). Petitioner’s Application for Attorney’s Fees and Costs (“Motion”) filed May 12,
2023, ECF No. 54. In accordance with General Order No. 9, counsel for Petitioner
represents that Petitioner incurred no out-of-pocket expenses. Id. at 3.

       Respondent reacted to the motion on May 26, 2023, indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded to my discretion. Respondent’s
Response to Motion at 2-3, ECF No. 55. Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reasons listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private

                                            2
             Case 1:20-vv-00675-UNJ Document 60 Filed 07/28/23 Page 3 of 4




practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                           ATTORNEY FEES

                  A. Hourly Rates

       The rates requested for work performed through the end of 2022 are reasonable
and consistent with our prior determinations, and will therefore be adopted. Petitioner has
also requested the hourly rate of $413 for 2023 work performed by Attorney Glen
Sturtevant – representing a rate increase of $21. I find this hourly rate to be reasonable
and I award it herein.

       Additionally, Petitioner is requesting the hourly rate of $187 for paralegal work
performed in 2023. This rate requires adjustment as it exceeds the Vaccine Program’s
published range for paralegals in 2023. 3 I shall therefore reduce the requested paralegal
rate to $186 per hour for time billed in 2023. This rate is more comparable to what a
paralegal would receive for the given year. This reduces the amount of fees to be awarded
by $6.10. 4

     Lastly, Petitioner has provided supporting documentation for all claimed costs.
ECF No. 54-2. Respondent offered no specific objection to the rates or amounts sought.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. I award a total of $27,434.84 (representing $24,322.98 for
attorney’s fees and $3,111.86 in costs) as a lump sum in the form of a check jointly
payable to Petitioner and Petitioner’s counsel, Glen H. Sturtevant. In the absence of
a timely-filed motion for review (see Appendix B to the Rules of the Court), the Clerk of
Court shall enter judgment in accordance with this Decision. 5




3
  The OSM Attorneys’ Forum Hourly Rate Schedules are available on the U.S. Court of Federal Claims
website at http://www.cofc.uscourts.gov/node/2914
4
    This amount is calculated as follows: ($187 - $186 = $1 x 6.10hrs = $6.10).
5
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                      3
       Case 1:20-vv-00675-UNJ Document 60 Filed 07/28/23 Page 4 of 4




IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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